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             IN THE   UNITED        STATES      DISTRICT         COURT      FOR THE
                           SOUTHERN DISTRICT              OF    GEORGIA
                               STATESBORO DIVISION




UNITED      STATES    OF   AMERICA                  *
                                                    *


       v.                                           *                CR    606-026-32


ANDREA      FRANKLIN                                *




                                          ORDER




       Before    the        Court    in       the       captioned         case   is   Defendant

Andrea      Franklin's       second request                to    terminate       her    term of

supervised release.1               On October 3, 2007,                Franklin was found

guilty by a          jury of        conspiracy to               possess      with     intent    to

distribute and to distribute 50 grams or more of cocaine base

and 5 kilograms or more of cocaine hydrochloride, in violation

of    21    U.S.C.    §     846.         On   January          22,   2008,       Franklin      was

sentenced      to     120     months          imprisonment           and     five     years     of

supervised release.

       Franklin was released from the Bureau of Prisons in May

2013; she is presently serving her term of supervised release

under the supervision of the United States Probation Office in

the   Eastern District              of    Virginia.             Franklin has          completed

nearly four years with only minor instances of noncompliance.



     1  The Court denied Franklin's                             earlier application on
June 28, 2016. (Doc. 1640.)
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Franklin has maintained employment and has graduated from a

Practical Nursing Program.             Franklin resides with her mother.

The   Government     has   filed     no    opposition      or     response,     and

Franklin's supervising probation officer does not object to

the early termination of her supervised release.

      Upon due     consideration,         IT IS    ORDERED      that   Franklin's

motion    (doc.    1675)      is   GRANTED,       and    Andrea    Franklin      is

discharged from her term of supervised release upon entry of

this Order.       The Clerk is directed to send a copy of                      this

Order to Mr.      Laszlo V.    Mako,    United States Probation Office,

600 Granby Street,      Room 2021, Norfolk,             VA 23510-1915.

      ORDER ENTERED at Augusta, Georgia,                   this <£?-J       day of
April,   2017.




                                            HONOR£ri6LE J.      RANDAL HALL
                                            UNITEj/ STATES DISTRICT JUDGE
                                                   IERN DISTRICT       OF   GEORGIA
